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                     IN THE UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS

HAITIAN-AMERICANS UNITED INC.;
VENEZUELAN ASSOCIATION OF
MASSACHUSETTS; UNDOCUBLACK
NETWORK, INC.; SYDNEY DOE; MARLENE
DOE; GUSTAVO DOE; and NATALIA DOE,
                                                       Civil Action No. 25-cv-10498
                             Plaintiffs,

                      v.

DONALD J. TRUMP, in his official capacity as
President of the United States; U.S. DEPARTMENT
HOMELAND SECURITY; and KRISTI NOEM, in
her official capacity as Secretary of the Department
of Homeland Security,

                               Defendants.



PLAINTIFFS’ REPLY IN SUPPORT OF THEIR MOTION UNDER 5 U.S.C. § 705 TO
  POSTPONE THE EFFECTIVE DATE OF DHS’ HAITI AND VENEZUELA TPS
            VACATURS AND 2025 VENEZUELA TERMINATION
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                                       INTRODUCTION

       Defendants do not dispute the basic facts that give rise to this lawsuit: in 2024 and 2025,

the U.S. Government extended Temporary Protected Status (“TPS”) protections through October

2, 2026 to approximately 607,000 Venezuelans who had fled a country beset by violence and

instability, and through February 3, 2026 to over 500,000 Haitians fleeing similar conditions in

their home country. As required by the TPS statute, official notices of the extensions were

published in the Federal Register, assuring beneficiaries that TPS protections “will remain in

effect” until the published end dates, and that work authorization documents is automatically

extended for that period. See Extension of the 2023 Designation of Venezuela for Temporary

Protected Status, 90 Fed. Reg. 5961 (Jan. 17, 2025); Extension and Redesignation of Haiti for

Temporary Protected Status, 89 Fed. Reg. 54484 (July 1, 2024). By law, TPS protections cannot

be terminated before the expiration of these extensions. 8 U.S.C. §1254a(b)(3)(B).

       Yet Defendants are now attempting to pull the rug out from under the highly vulnerable

population of TPS holders and strip them of the lawful right to live and work in this country.

Without any statutory authority—and indeed, directly contrary to the TPS statute—Defendants

have simply said that the TPS extensions that the Government formally granted and published in

the Federal Register have been “vacated.” Never before has the Government revoked an already-

granted TPS protection—and for good reason. Such action is completely contrary to both the plain

language of the TPS statute and its underlying purpose. See infra at pp.12-14.

       To avoid facing the merits—and the manifest harm that springs from their unlawful about-

face—Defendants assert a variety of unavailing arguments. They start with claims that this Court

cannot review their conduct. But the jurisdiction-stripping statutes they rely on are inapplicable

here, where Plaintiffs are seeking not to enjoin the lawful operation of the TPS statute, but rather

to challenge agency action outside its bounds. And the remedies that Plaintiffs seek under the


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Administrative Procedure Act (“APA”)—to preliminarily stay and to “set aside” the unlawful

agency conduct—are not injunctions covered by the jurisdiction-stripping statutes. See infra at

pp. 2-12.

       Plaintiffs have also demonstrated a likelihood of success on the merits—not only on their

claim that Defendants are acting outside the bounds of the TPS statute, but that their conduct is

impermissibly tainted by racial animus. Though Defendants’ try to minimize their racially charged

rhetoric targeting Black and Latino immigrants by calling it “remote” and “out of context,” in fact

it is both longstanding and direct, making clear that Defendants’ actions are driven at least in part

by discriminatory intent rather than legitimate policy considerations. See infra at pp. 16-19.

       The balance of harms could not tip more sharply in Plaintiffs’ favor. The ability to live and

work lawfully in the United States is a critically important right, and Defendants’ attempts to

prematurely strip that right from Plaintiffs and thousands like them would cause grievous harm to

individuals, families, and communities across the country. Accordingly, Plaintiffs respectfully

request that this Court exercise its authority under 5 U.S.C. §705 to stay the effective date of the

TPS Vacaturs and the Venezuela Termination, pending conclusion of this review proceeding.

                                           ARGUMENT

I.     THIS COURT HAS JURISDICTION TO GRANT THE REQUESTED RELIEF.

               A. 8 U.S.C. §1252(f)(1) Does Not Preclude This Court From Granting The
                  Requested Relief.

       Contrary to Defendants’ assertions, 8 U.S.C. §1252(f)(1) does not bar this Court from

granting Plaintiffs the relief they seek. That provision states that “no court (other than the Supreme

Court) shall have jurisdiction or authority to enjoin or restrain the operation of the provisions of

part IV of this subchapter” except in individual removal hearings. Id. Defendants contend that this

statute bars certain relief requested by Plaintiffs: namely, that the Court set aside the Vacaturs and



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Venezuela Termination and that the Court preliminarily stay those actions pending final

determination. Defendants are wrong for several reasons.

           First, Plaintiffs are not seeking to “enjoin or restrain the operations” of the TPS statute—

but rather to have the Government follow the provisions of the law. The TPS statute sets forth an

orderly process for initiating, extending, and terminating a TPS designation. See Plaintiffs’

Opening Brief (“Pls. Br.”), ECF No. 10, at 3-4. There is no statutory process for vacating a

decision that has already been made—in the TPS statute or anywhere else. Therefore, what

Plaintiffs challenge is agency action outside the bounds of the law.

           In considering the jurisdictional statute that Defendants now cite, the Supreme Court has

specifically noted this distinction between enjoining the operation of a law and challenging agency

action that operates outside the law. In Jennings v. Rodriguez, the Court reviewed a Ninth Circuit

decision concerning the availability of periodic bond hearings for immigrants in detention. 583

U.S. 281, 313 (2018). While reversing on statutory interpretation grounds and remanding for

consideration of constitutional claims, the Court cited approvingly to the Ninth Circuit’s holding

that Section 1252(f)(1) does not apply where a plaintiff challenges conduct as unauthorized by

statute:

       The Court of Appeals held that [8 U.S.C. 1252(f)(1)] did not affect its jurisdiction
       over respondents’ statutory claims because those claims did not “seek to enjoin
       the operation of the immigration detention statutes, but to enjoin conduct ... not
       authorized by the statutes.”… This reasoning does not seem to apply to an order
       granting relief on constitutional grounds, and therefore the Court of Appeals
       should consider on remand whether it may issue classwide injunctive relief based
       on respondents’ constitutional claims.
Id. (emphasis omitted);1 see also Brito v. Barr, 22 F.4th 240, 249 (1st Cir. 2021) (noting that the

Supreme Court “seemed to accept this distinction” between enjoining operation of a statute and



1
 The Ninth Circuit put it this way in the ruling under review: “[Section] 1252(f)(1) limits the district
court's authority to enjoin the INS from carrying out legitimate removal orders. Where, however, a


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challenging ultra vires agency action); Grace v. Barr, 965 F.3d 883, 907 (D.C. Cir. 2020) (holding

that §1252(f)(1) “refers only to ‘the operation of the provisions’—i.e., the statutory provisions

themselves, and thus places no restriction on the district court's authority to enjoin agency action

found to be unlawful.”). Indeed, if Section 1252(f)(1) reached as far as Defendants now contend—

to claims that an agency has acted outside its delegated powers—the Supreme Court in Jennings

would have disposed of the Ninth Circuit’s ruling on those grounds, rather than reaching the merits.

See also Garland v. Aleman Gonzalez, 596 U.S. 543, 550 (2022) (Section 1252(f)(1) prohibits

injunctions ordering federal officials to take or refrain from action to carry out “specified statutory

provisions.”).

        Second, even if Section 1252(f)(1) reached challenges to ultra vires action—which it does

not—it still would not limit the power of this Court to “hold unlawful and set aside agency action”

under the APA. 5 U.S.C. §706(2). Contrary to Defendants’ arguments, the Supreme Court has

specifically distinguished vacating agency action from an injunction, describing vacatur as a “less

drastic remedy.” Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 165 (2010). Among other

differences, the Court has noted that an injunction operates as a direct command to an agency

official to act or refrain from acting. See, e.g., Aleman Gonzales, 596 U.S. at 550 (“§ 1252(f)(1)

generally prohibits lower courts from entering injunctions that order federal officials to take or to

refrain from taking actions.…”). By contrast, “setting aside” agency action under the APA simply

removes an agency’s authority to act but is not a direct order that runs against agency officials.

R.J. Reynolds Tobacco Co. v. FDA, 696 F.3d 1205, 1222 (D.C. Cir. 2012), overruled on other




petitioner seeks to enjoin conduct that allegedly is not even authorized by the statute, the court is not
enjoining the operation of part IV of subchapter II, and § 1252(f)(1) therefore is not implicated.”
Rodriguez v. Hayes, 591 F.3d 1105, 1120 (9th Cir. 2010) ) (quoting Ali v. Ashcroft, 346 F.3d 873,
886 (9th Cir. 2003).


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grounds by American Meat Institute v. U.S. Dep’t of Agriculture, 760 F.3d 18 (D.C. Cir. 2014).2

Indeed, because the two remedies are distinct, courts have noted that an injunction is often

“anomalous” when a court sets aside agency action under the APA. R.J. Reynolds, 696 F.3d at

1222; see also Monsanto, 561 U.S. at 165-66 (upholding vacatur of agency rule, but reversing

grants of injunctive relief). While the Supreme Court has never ruled on this issue in the context

of Section 1252(f)(1), its precedents draw a clear distinction between injunctions and the “less

drastic remedy” of setting aside agency action. 3 And every court to consider the issue has rejected

the argument Defendants raise here. See Texas v. United States, 40 F.4th 205, 219–20 (5th Cir.

2022) (holding Section 1252(f)(1) does not apply to vacatur); Kidd v. Mayorkas, 734 F. Supp. 3d

967, 987 (C.D. Cal. 2024) (same); Florida v. United States, 660 F. Supp. 3d 1239, 1284–85 (N.D.

Fla. 2023) (same); Texas v. Biden, 646 F. Supp. 3d 753, 768-69 (N.D. Tex. 2022) (same).4

       There are numerous other indicators that an order setting aside illegal agency action under

the APA is not limited by Section 1252(f)(1). Where Congress desires to strip jurisdiction more

broadly, it uses broader language. See, e.g., 8 U.S.C. § 1252(e) (barring not just “enjoining or

restrain[ing]” as in §1252(f)(1), but “declaratory, injunctive, or other equitable relief,” as well as

class certification); 28 U.S.C. §§ 1341, 1342 (in Tax Injunction and Johnson Acts, providing that


2
  Cf. Armstrong v. Exec. Office of the President, Office of Admin., 1 F.3d 1274, 1289 (D.C. Cir. 1993)
(an order that declares that agency action violates the APA is not punishable by contempt because it
is not an injunction directed at any federal official).
3
  In a recent case, the Court requested briefing from the parties on whether Section 1252(f)(1)
extends to relief under Section 706 of the APA, but ultimately “express[ed] no views” on the
question. Biden v. Texas, 597 U.S. 785, 801 n.4 (2022).
4
  Defendants lean heavily on Scripps Howard Radio v. FCC, 316 U.S. 4 (1942) and claim it supports
their view that vacating agency action is the same as an injunction. See Defendants’ Opposition
Brief (Defs. Br.), ECF No. 28, at 11. But Scripps Howard pre-dates the APA case, and Defendants
do not explain why they believe it to be relevant here. Similarly, Justice Gorsuch’s concurrence in
United States v. Texas, also cited by Defendants, is inapt—not only because it is not a controlling
opinion, but also because of the very different factual context, where vacatur of agency action would
not have redressed the plaintiffs’ grievances in any event. See 599 U.S. 670, 691 (2023) (Gorsuch, J.,
concurring).


                                                  5
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districts courts may not “enjoin, suspend, or restrain” the assessment or collection of state taxes or

rate-making orders). By contrast, as the Supreme Court has held, “[b]y its plain terms, and even

by its title, [§ 1252(f)] is nothing more or less than a limit on injunctive relief.” Reno v. American-

Arab Anti-Discrimination Committee, 525 U.S. 471, 481 (1999).5

        This inquiry as to the scope of Section 1252(f) also operates against the backdrop of the

longstanding presumption in favor of APA review. See Abbott Laboratories v. Gardner, 387 U.S.

136, 140 (1967); Reno v. Cath. Soc. Servs., Inc., 509 U.S. 43, 63–64 (1993) (“[T]here is a ‘well-

settled presumption favoring interpretations of statutes that allow judicial review of administrative

action,’ and we will accordingly find an intent to preclude such review only if presented with ‘clear

and convincing evidence.”) (citations omitted); Dep’t of Homeland Sec. v. Regents of the Univ. of

California, 591 U.S. 1, 16 (2020). “Unless a statute in so many words, or by a necessary and

inescapable inference, restricts the court’s jurisdiction in equity, the full scope of that jurisdiction

is to be recognized and applied.” Porter v. Warner Holding Co., 328 U.S. 395, 398 (1946).6 The

APA is designed to reach broadly, and explicitly states that a “[s]ubsequent statute may not be held

to supersede or modify this subchapter . . . except to the extent that it does so expressly.” 5 U.S.C.

§ 559; see also Citizens for Responsibility & Ethics v. Fed. Elec. Comm’n, 993 F.3d 880, 889 (D.C.

Cir. 2021) (“[Federal Election Campaign Act] cannot alter the APA’s limitation on judicial review

unless it does so expressly.”).

        Interpreting Section 1252(f)(1) to preclude judicial review of Plaintiffs’ constitutional

claims would be particularly problematic, since that “would, of course, raise serious questions



5
  Section 1252(f)’s title is “Limit on injunctive relief,” in contrast, e.g., to the broader title of Section
1252(e)(1): “Limitations on relief.”
6
  “Even where the ultimate result [of a statute] is to limit judicial review, ... as a matter of the
interpretive enterprise itself, the narrower construction of a jurisdiction-stripping provision is favored
over the broader one.” ANA Int'l, Inc. v. Way, 393 F.3d 886, 891 (9th Cir. 2004).


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concerning the constitutionality” of the statute. Johnson v. Robison, 415 U.S. 361, 366 (1974).

Thus, the Supreme Court instructs courts “to avoid [that] ‘serious constitutional question’” by

accepting any fairly possible construction that permits review. Webster v. Doe, 486 U.S. 592, 603

(1988) (quoting Bowen v. Mich. Acad. of Family Physicians, 476 U.S. 667, 681 n.12 (1986)); see

also Weinberger v. Salfi, 422 U.S. 749, 762 (1975); INS v. St. Cyr, 533 U.S. 289, 314 (2001).

        Third, a stay pending ultimate decision, which is what Plaintiffs request in this Motion, is

even further removed from an injunction against a governmental official to stop the operation of

provisions of the TPS statute. The Supreme Court has made clear that the two remedies—a stay

and an injunction—are distinct and “have typically been understood to serve different purposes.”

Nken v. Holder, 556 U.S. 418, 428-29 (2009). Whereas an injunction “is a means by which a court

tells someone what to do or not to do,” a stay simply suspends on a temporary basis the source of

authority to act.7

        Finally, Defendants argue that no relief is possible because the challenged vacaturs “have

already taken effect.” Defs. Br. at 12. As a practical matter, that is incorrect—the facts on the

ground will not change until April 2nd (for Venezuela) and August 3rd (for Haiti), which are the

end dates for the last uncontested extensions and when work authorizations will end if relief is not

granted. Regardless, the only cases that Defendants cite for their proposition that an already

effective action cannot be stayed concern agencies attempting to postpone their own regulations

under 5 U.S.C. §705 (allowing an agency to “postpone the effective date of action taken by it”).8



7
  Id. at 430 (“Whether such a stay might technically be called an injunction is beside the point: that is
not the label by which it is generally known. The sun may be a star, but ‘starry sky’ does not refer to
a bright summer day.”).
8
  See Ctr. for Biological Diversity v. Regan, 597 F. Supp. 3d 173, 204 (D.D.C. 2022) (analyzing
agency authority to stay rule); NRDC v. U.S. Dep’t of Energy, 362 F. Supp. 3d 126, 151 (S.D.N.Y.
2019) (same); State v. U.S. Bureau of Land Mgmt., 277 F. Supp. 3d 1106, 1118 (N.D. Cal. 2017)
(same).


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But the APA’s provision for judicial review is phrased much more expansively—and

disjunctively—reflecting the fundamentally different role of courts, which have Article III power

to preserve the status quo.9 And in fact the Supreme Court and lower courts have often stayed

agency action past its effective date. See, e.g., West Virginia v. EPA, 577 U.S. 1126 (2016) ; BST

Holdings, L.L.C. v. Occupational Safety & Health Admin., U.S. Dep't of Lab., 17 F.4th 604, 609

(5th Cir. 2021).

               B. 8 U.S.C. § 1254a(b)(5)(A) Does Not Preclude This Court’s Review.

       Defendants next turn to the jurisdictional provisions of the TPS statute itself: 8 U.S.C. §

1254a(b)(5)(A) (“There is no judicial review of any determination of the [Secretary] with respect

to designation, or termination or extension of a designation, of a foreign state under this

subsection.”). But nothing in that provision can credibly be read to bar judicial review of Plaintiffs’

claims either.10

       Examining the words of the statute, it bars challenges to a “determination”—i.e., a TPS

designation, extension, or termination. But the Vacaturs are none of these things: they are

unauthorized under the statute and do not fall into any of these categories. Moreover, even if the

Vacaturs could be considered “determinations”—which they cannot—the Supreme Court has held

that Section 1254a(b)(5)(A) does not preclude judicial review of agency action that is collateral to


9
  5 U.S.C. §705 (“On such conditions as may be required and to the extent necessary to prevent
irreparable injury, the reviewing court . . . may issue all necessary and appropriate process to
postpone the effective date of an agency action or to preserve the status or rights pending conclusion
of the review proceedings.”) (emphasis added).
10
   In related proceedings in the Northern District of California, Defendants conceded that Section
1254a(b)(5)(A) does not bar judicial review of the threshold question of whether the TPS statute
authorizes vacatur. See Supplemental Declaration of Mirian Albert (“2nd Albert Dec.”), Ex. A
(National TPS Alliance et al. v, Noem et al., 25-cv-01766 (N.D. Cal. 2025), Transcript of
Proceedings) at 50:4-51:10. Defendants’ claim is apparently only that—if the Court finds the
Secretary is authorized to vacate extensions—the jurisdiction-stripping provision bars judicial review
of the reasons given for the Vacaturs. As explained below, even as to that limited question
Defendants are incorrect.


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determinations themselves. In McNary v. Haitian Refugee Ctr., Inc., 498 U.S. 479, 491 (1991),

the Court upheld a class action challenge to the manner in which a special agricultural worker

amnesty program was being implemented, in the face of a jurisdiction-stripping provision that

barred actions seeking “judicial review of a determination respecting an application for adjustment

of status….” Id. at 491 (citing 8 U.S.C. §1160(e)(1)). The Court held that this language does not

reach “general collateral challenges to unconstitutional practices and policies used by the agency

in processing applications.” Id.; see also Cath. Soc. Servs., Inc., 509 U.S. at 63–64 (district court

may properly exercise jurisdiction over challenge to regulations concerning legalization of

undocumented immigrants, despite jurisdiction-stripping statute that precludes review of

“determination[s] respecting an application for adjustment of status”); Immigrant Assistance

Project of AFL CIO v. I.N.S., 306 F.3d 842, 862–63 (9th Cir. 2002). Numerous courts have reached

this same conclusion in TPS challenges specifically.11

       As these cases make clear, plaintiffs do not challenge a “determination” where the relief

they seek does not impinge on the substantive outcome of the ultimate agency decision. Here,

Plaintiffs do not dispute that DHS Secretaries may terminate TPS protections, but they must follow

the statutory process for doing so. As with Defendant’s other jurisdiction-stripping argument, see

supra, the contrast to other jurisdiction-stripping laws is instructive. Where Congress has intended

to preclude review of all claims, it has done so explicitly. See, e.g., 8 U.S.C. § 1252(b)(9)


11
  See, e.g., Saget v. Trump, 375 F. Supp. 3d 290, 330-333 (E.D.N.Y. 2019) (“The construction of the
TPS statute does not evince an intent to bar all judicial review”); Centro Presente v. United States
Dep't of Homeland Sec., 332 F. Supp. 3d 393, 405–09 (D. Mass. 2018) (no jurisdiction-stripping
where plaintiffs bring “challenges to Defendants’ process of adjudication rather than the content of
any particular adjudication” and “there would be no meaningful opportunity for review of Plaintiffs’
constitutional and statutory claims in removal proceedings”); Casa de Maryland, Inc. v. Trump, 355
F. Supp. 3d 307, 317-20 (D. Md. 2018) (finding jurisdiction where “the text does not use the
unambiguous and comprehensive language used in statutes courts have interpreted as broadly
precluding judicial review” and “the alternative methods of review of Plaintiffs' claims offered by the
Department do not constitute meaningful review.”).


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(precluding “[j]udicial review of all questions of law and fact, including interpretation and

application of constitutional and statutory provisions . . .”) (emphasis added). “Where Congress

includes particular language in one section of a statute but omits it in another,” courts presume the

omission is intentional. Keene Corp. v. United States, 508 U.S. 200, 208 (1993) (internal

quotations omitted); accord Dig. Realty Tr., Inc. v. Somers, 583 U.S. 149, 161-62 (2018).12

       Moreover, in these circumstances, there is no meaningful alternative avenue for review,

further undercutting Defendants’ arguments. See McNary, 498 U.S. at 496-97. To raise the claims

that Plaintiffs raise here in the removal context, individual TPS holders would have to remain in

this country (in violation of the law) and either be arrested and placed in removal proceedings, or

turn themselves in to the Government and request removal proceedings. The law does not require

plaintiffs to undertake such burdens to enforce the law and to “bet the farm . . . by taking the

violative action” before bringing a legal challenge.” Free Enter. Fund v. PCAOB, 561 U.S. 477,

490-91 (2010) (explaining that there was no “meaningful avenue of relief” if plaintiff were

required to incur a sanction in order to test a law’s validity) (internal citation omitted). Indeed, in

McNary, the Supreme Court allowed undocumented immigrants to raise a due-process challenge

to immigration proceedings in district court, rather than pursue eventual review in a court of

appeals after removal, in part because most of the immigrants could “ensure themselves review in

courts of appeals only if they voluntarily surrender[ed] themselves for deportation,” a “price . . .

tantamount to a complete denial of judicial review for most undocumented aliens.” 498 U.S. at

496-97; see also Mathews v. Eldridge, 424 U.S. 319, 331 (1976) (declining to require actual denial

of benefits to bring due process challenge in part because recipient “raised at least a colorable



12
  See also Sackett v. E.P.A., 566 U.S. 120, 128 (2012) (“[t]he APA ... creates a presumption favoring
judicial review of administrative action”); Webster, 486 U.S. at 603 (“where Congress intends to
preclude judicial review of constitutional claims its intent to do so must be clear.”).


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claim” that full post-deprivation relief could not be obtained); American Baptist Churches v

Thornburgh, 760 F. Supp. 796 (N.D. Cal. 1991) (certifying class action brought by Salvadorans

and Guatemalans challenging the federal government’s discriminatory adjudication of asylum

claims). Where, as here, “‘by reason of the nature of the right asserted, [it] cannot be raised

efficaciously within the administrative proceedings delineated by the INA,’” those proceedings

are not a meaningful forum to bring that claim. Chehazeh v. Att’y Gen. of U.S., 666 F.3d 118, 133

n.19 (3d Cir. 2012) (quoting Aguilar v. ICE, 510 F.3d 1, 11 (1st Cir. 2007)); Centro Presente, 332

F. Supp. 3d at 406. Defendants’ attempt to avoid judicial review is, therefore, unavailing.

II. PLAINTIFFS HAVE A STRONG LIKELIHOOD OF SUCCESS ON THE MERITS.
        A.      Secretary Noem Lacks Authority to “Vacate” A Prior TPS Designation.

        Plaintiffs are likely to succeed on their claim that the Vacaturs are not authorized by law.

In their Opposition, Defendants do not attempt to argue that there is any explicit authorization for

a vacatur in the TPS statute, nor do they disagree that, as head of an administrative agency, the

Secretary cannot act unless statutorily authorized to do so. Instead, they argue that the authority

for vacatur is “implicit” in the statute.

        But this argument ignores the very purpose of the TPS statute––which was deliberately

enacted to replace the ad hoc Extended Voluntary Departure (EVD) process. See Pls. Br. at 3;

Ramos v. Nielsen, 336 F. Supp. 3d 1075, 1082 (N.D. Cal. 2018) vacated and remanded sub nom.

Ramos v. Wolf, 975 F.3d 872, 879 (9th Cir. 2020), reh'g en banc granted, opinion vacated, 59

F.4th 1010 (9th Cir. 2023).13 Accepting Defendants’ argument—that TPS status can always be

reconsidered and revoked—would completely undermine the statute, allow terminations at any



13
  This starkly contrasts with the national-interest waiver in Poursina v. United States Citizenship &
Immigr. Servs., which Defendants cite, as that waiver is explicitly defined by statute as “entirely
discretionary.” 936 F.3d 868, 872 (9th Cir. 2019); Defs. Br. at 18.


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time, and return to the days of ad hoc decision-making that Congress specifically sought to move

away from in enacting the TPS statute. Where the statutory scheme’s purpose and design is

fundamentally incompatible with an agency’s attempt to invoke “implicit” authority to act, courts

have not hesitated to rule such action illegal. See Ivy Sports Medicine v. Burwell, 767 F.3d 81, 86-

87 (D.C. Cir. 2014) (“inherent reconsideration authority does not apply in cases where Congress

has spoken”); Louisiana Pub. Serv. Comm'n v. F.C.C., 476 U.S. 355, 357 (1986) (“To permit an

agency to expand its power in the face of a congressional limitation on its jurisdiction would be to

grant to the agency power to override Congress. This we are both unwilling and unable to do.”).

       Defendants hinge their argument on the provision that the Secretary must “determine

whether the conditions for … designation under this subsection continue to be met.” See Defs. Br.

at 17 (citing 8 U.S.C. §1254a(b)(3)(A)). But this is not a free-floating license to make the

determination at any time; to the contrary, it is a part of the provision for “Periodic review,” in

which Congress specified exactly when such determinations must be made. Id. Defendants

attempt to avoid this conclusion by cloaking themselves in “national security” and “foreign policy”

interests, but this is unavailing for numerous reasons. First, it is a post hoc rationalization that is

nowhere to be found in the Vacaturs themselves, which focus instead on bureaucratic “confusion”

purportedly caused by overlapping designations.14 Moreover, this argument overlooks that the TPS

statute specifically allows consideration of the national interest—but that it is to be analyzed at the




14
  See 90 Fed. Reg. 8805 (Feb. 3, 2025); 90 Fed. Reg. 10511 (Feb. 24, 2025). Notably, Defendants do
not claim that the supposedly confusing overlapping designations are legally improper—indeed they
are commonplace. See Supplemental Albert Decl., Ex. A (Transcript of Proceedings, National TPS
Alliance v. Noem) at 69:24-70:2 (“Plaintiffs are correct that these overlapping registrations can take
place, but that’s within the discretion of the Secretary on how that registration should take place.”).
Indeed, the TPS statute explicitly grants the Secretary broad discretion over the registration process.
See 8 U.S.C. § 1254a(c)(1)(A)(iv) (TPS registration is “to the extent and in a manner which the
[Secretary] establishes”).


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regular and defined intervals set forth by law.15 And even if the asserted basis for the Vacaturs

was more than supposed bureaucratic confusion, “[r]egardless of how serious the problem an

administrative agency seeks to address, … it may not exercise its authority ‘in a manner that is

inconsistent with the administrative structure that Congress enacted into law.” FDA v. Brown &

Williamson Tabacco Corp., 529 U.S. 120, 125 (2000).

       Simply asserting that the Secretary has inherent authority to correct errors—such as the

supposed need to clear up “confusion” about overlapping designations—is insufficient. Courts

routinely reject such unsubstantiated claims when they are pretext for otherwise unlawful agency

action. See, e.g., Int'l Paper Co. v. FERC, 737 F.2d 1159, 1164-66 (D.C. Cir. 1984) (rejecting a

claim by the Federal Energy Regulatory Commission (“FERC”) of alleged error on the grounds

that the agency did not fully explain how the error occurred, and because the parties had little

knowledge that a mistake had been made); Am. Trucking Ass'ns v. Frisco Transp. Co., 358 U.S.

133, 146 (1958) (“Of course, the power to correct inadvertent ministerial errors may not be used

as a guise for changing previous decisions because the wisdom of those decisions appears doubtful

in the light of changing policies.”); Coteau Props. Co. v. Dep't of Interior, 53 F.3d 1466, 1469-70

(8th Cir. 1995) (disallowing reconsideration made soon after a change in presidential

administration); Solar v. Pension Benefit Guar. Corp., 504 F.Supp. 1116, 1123 (S.D.N.Y. 1981)

(disallowing reconsideration made soon after a change in agency personnel); McAllister v. United

States, 3 Cl. Ct. 394, 402 (1983) (rejecting reconsideration where “the sole basis for the reversal

of the [initial] determination... was that the agency decided to change its official mind”).



15
   Defendants frequently stray from the actual language used by Congress (“national interest”),
variously re-phrasing it as “national security” or “foreign policy” interest and citing cases in those
contexts instead. See Defs. Br. at 18-19. They also overlook provisions of the TPS statute that allow
DHS to deny or revoke status at any time from any individuals found not to meet TPS eligibility
standards such as through criminal activity, see 8 U.S.C. § 1254a(c)(2).


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       Defendants also do not dispute the longstanding agency practice of following the defined

timelines set forth in the TPS statute. They acknowledge that this is the first time in the 35-year

history of the TPS statute—out of hundreds of designations and extensions—that a formal

extension of protected status has ever been summarily taken away from beneficiaries, as

Defendants are attempting to do here. In response to this unbroken chain of agency practice,

Defendants point only to former Secretary Mayorkas’ revocation of a termination decision.16 But

this does not help Defendants, for numerous reasons. First, no one ever challenged Secretary

Mayorkas’ action, so no court ever ruled on it. Second, it did not practically change the status of

TPS beneficiaries because various injunctions had already preserved the status quo for years until

Secretary Mayorkas issued new TPS designations.17 And finally, it was taken to resolve a legal

morass: designations that were terminated in 2018, enjoined by a district court in California,

overturned by the Ninth Circuit in 2020, but then essentially held in limbo for three years after the

case went en banc, thus vacating the panel opinion. By contrast, Defendants’ Vacaturs and

subsequent Termination will have unprecedented consequences, stripping TPS protections from

over 900,000 Venezuelan and Haitian holders whose status was lawfully extended by Secretary

Mayorkas.

       B.      Plaintiffs Are Likely To Succeed On Their Equal Protection Claim.

               a. Arlington Heights is the Controlling Standard of Review.

       Contrary to Defendants’ argument, courts have repeatedly addressed the appropriate

standard for evaluating Equal Protection claims alleging racial discrimination in TPS cases and


16
   Defs. Br. at 19-20 (citing Reconsideration and Rescission of Termination of the Designation of El
Salvador for Temporary Protected Status; Extension of the Temporary Protected Status Designation
for El Salvador, 88 Fed. Reg. 40282 (June 21, 2023).
17
   See Ramos, 336 F. Supp. 3d at 1082 (maintaining status quo after the first Trump Administration
attempted to end TPS protections for several countries, including Haiti); Saget v. Trump, 375 F. Supp.
3d 280, 298-300 (E.D.N.Y. 2019) (same).


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have consistently applied the heightened standard set forth in Vill. of Arlington Heights v.

Metropolitan Housing Development Corp., 429 U.S. 252 (1977). See e.g., Centro Presente, 332

F. Supp. 3d at 409–13; CASA de Maryland., Inc. v. Trump, 355 F. Supp. 3d 307, 322-23 (D. Md.

2018); NAACP v. United States Dep’t of Homeland Sec., 364 F. Supp. 3d 568, 576 (D. Md. 2019).18

Defendants’ argument that the Court should apply the rational basis standard under Trump v.

Hawaii, 585 U.S. 667 (2018), is contrary to the weight of authority and should be rejected. See

Defs. Br. at 21-22.

       As the many other courts that have considered this issue have recognized, Hawaii

concerned a very different factual context: regulation of foreign nationals seeking to enter the

country in the face of national security concerns. By contrast, TPS beneficiaries have long-

established ties to the United States and are entitled to a “higher level of due process than foreign

nationals seeking admission to the country.” Centro Presente, 332 F. Supp. 3d at 411 (quoting

Landon v. Plasencia, 459 U.S. 21, 32 (1982)); see also DHS v. Regents, 591 U.S. at 34 (plurality)

(applying Arlington Heights standard to case challenging recission of Deferred Action for

Childhood Arrivals (DACA)); Fleurissaint Dec. ¶¶ 9, 12 (HAU members who have been in the

United States for over 10 years); Lawrence Dec. ¶13. Moreover, the Executive Order in Hawaii

was issued pursuant to a statute that “exudes deference to the President in every clause,” Hawaii,

585 U.S. at 684, whereas the TPS statute sets forth a clear process and criteria to be followed.

Therefore, the Arlington Heights standard applies.19


18
   See also Ramos, 336 F. Supp. 3d 1082 (N.D. Cal. 2018). The district court’s ruling in Ramos was
reversed by the Ninth Circuit, but the case was subsequently taken en banc, which vacated the panel
opinion. While en banc proceedings were pending, the case was mooted out. For this reason, neither
the district court ruling nor the Ninth Circuit opinion are precedent. Notably, however, both the
district court and the Ninth Circuit panel agreed that the Arlington Heights standard applied.
19
   Plaintiffs would prevail even under rational basis review because the challenged conduct is “not
rationally related to a legitimate government purpose.” Mulero-Carrillo v. Román-Hernández, 790
F.3d 99, 107 (1st Cir. 2015). The Court may consider extrinsic evidence in this assessment. See Hawaii,


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                b. Racial Animus Was A Motivating Factor In The Challenged Actions.

        The evidence that discriminatory animus was a motivating factor behind the challenged

actions here is abundant. Defendants appear to concede that the President has “expressed racial

animus against ‘nonwhite, non-European immigrants’” but claim this is unproblematic from an

Equal Protection perspective because there is an insufficient link to the TPS decisions. Defs. Br.

at 24 (citing Ramos, 975 F.3d at 897).

        But statements laced with racial stereotypes by both Defendant Trump and Defendant

Noem have not been isolated or incidental—they were made for months leading up to Defendant

Noem’s decision to vacate TPS for Venezuela. See Exhibit B to 2nd Albert Dec. (Demonstrative

Timeline).    As catalogued in Plaintiffs’ opening brief, Defendants Trump and Noem have

promoted racist tropes, such as the false claim that Haitians eat pets, Ex. 16 of Albert Dec., ECF

No. 11-16; equated Black and Latino immigrants with criminals, including labeling Venezuelans

as “gangs,” “thugs,” and “criminals,” Pls. Br.at 14-16; and invoked xenophobic and eugenicist

rhetoric, such as warning that immigrants are “poisoning the blood of our country.” Id. Moreover,

in contrast to the out-of-circuit and vacated Ramos decision on which Defendants rely heavily, in

this case there is no need to make any speculative leaps about whether this longstanding animus

infected Defendant Noem’s decision-making. In the days immediately following her vacatur of

the Venezuela extension, she went on “Fox and Friends” to once again fuel racial stereotypes



585 U.S. at 705. Even in this deferential context, the Constitution forbids policies motivated by “a bare
[] desire to harm a politically unpopular group.” U.S. Dep’t of Agric. v. Moreno, 413 U.S. 528, 535
(1973). That is precisely the case here, as Defendants lack a “facially legitimate and bona fide” reason
for their actions independent of unconstitutional motives. Hawaii, 585 U.S. at 704. For example, the
Venezuela Termination asserts “notable” improvements in Venezuela without citing any, contradicting
the Department of State’s own reports. See ECF No. 1-4 (“Venezuela Termination”). Similarly, the
Haiti Vacatur references “significant development” in Haiti, yet provides no supporting sources. See
ECF No. 1-3 (“Venezuela Vacatur”) at 5; Lawrence Dec. ¶ 13; Brief for Commonwealth of Mass. et
al. as Amicus Curiae, ECF No. 33 (“States Amicus Brief”) at 8 & 9, HAU et al., v. Trump et al., No.
25-cv-10498 (D. Mass. 2025).


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equating Latino immigrants with criminals and linking those sentiments directly to the TPS

Vacatur: “They were going to extend this protection to people that are in temporary protected

status, which meant they were going to be able to stay here and violate our laws another 18 months

and we stopped that…. The people of this country want these dirtbags out.” Albert Dec., Ex. 23,

ECF No. 11-23. Defendants’ attempt to dismiss these statements as remote, “taken out of context,”

or unrelated to TPS determinations is therefore baseless. See Defs. Br. at 25.20 Moreover, neither

Defendant has disavowed or distanced themselves from these racist remarks. See Saget, 375 F.

Supp. 3d at 368 (quoting New York v. United States Dep’t of Com., 351 F. Supp. 3d 502, 668

(S.D.N.Y. 2019) (the court may look beyond the administrative record as the intentional

discrimination inquiry “contemplates a wide-ranging and penetrating inquiry capable of

uncovering hidden forms of discrimination”).21

       “The specific sequence of events leading up [to] the challenged decision” and “[d]epartures

from the normal procedural sequence” Arlington Heights, 429 U.S. at 266–68 (citations and

internal quotation marks omitted) are equally problematic for Defendants. Defendants do not



20
   Defendants’ assertion that the statements concern nationality, not race, see Defs. Br. at 25, is
disingenuous at best given the overlap between discrimination based on alienage, national origin, and
race. See e.g., Espinoza v. Farah Manufacturing Co., Inc., 414 U.S. 86, 92 n.5, 95 (1973) (refusing to
hire people of “Spanish-speaking background,” or insisting on an “Anglo Saxon background” as a
condition of employment constitutes discrimination based on a protected class); 29 C.F.R. § 1606.1
(“EEOC's guidelines on discrimination define “discrimination based on national origin” broadly, to
include acts of discrimination undertaken “because an individual has the physical (such as race),
cultural or linguistic characteristics of a national origin group.”); see also Fleurissaint Dec. ¶16;
Velasquez Dec. ¶ 16 (“in light of the President’s inflammatory remarks referring to Venezuelans as
“criminals” and “animals”… the Venezuelan community feel[s] stigmatized, excluded, and alienated
in the country they now call home”).
21
   Defendant Noem echoed these racist sentiments by citing Defendant Trump’s first-day Executive
Orders as justification for the 2025 Venezuela Vacatur, which falsely asserts that “[m]illions of
illegal aliens” have been allowed to settle in the United States “in violation of longstanding Federal
laws.” Venezuela Termination at 5. See also Saget, 375 F. Supp. 3d at 359-60 (echoing the influence
of the “America First” political agenda, which courts previously cited when enjoining TPS
terminations under the first Trump administration).


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dispute the highly irregular nature of their actions: that in the more than three decades of TPS’

existence, DHS has never before vacated a TPS designation. The extreme speed at which the

unprecedented reversals occurred—even though the TPS statute requires meaningful engagement

with other government agencies in the decision-making process and typically takes months—

provides further evidence that the stated reasons for the action are pretextual. Far from showing

“[t]he Secretary’s efficiency,” Defs. Br. at 26, they evince a result that was pre-ordained and not

based on reasoned decision-making. See N.C. State Conf. of NAACP v. McCrory, 831 F.3d 204,

227 (4th Cir. 2015) (procedural irregularities, including rushed decision making, truncated debate,

and timing of enactment are evidence of discriminatory intent); Centro Presente, 332 F. Supp. 3d

at 415 (same). Taken together, these factors confirm that Defendants’ actions were, at least in part,

driven by discriminatory intent based on race or national origin.

III. THE BALANCE OF EQUITIES TIPS SHARPLY IN PLAINTIFFS’ FAVOR AND
     THE PUBLIC INTEREST WOULD BE SERVED BY A STAY.

       Without a stay, Plaintiffs and other TPS holders across the country will become

immediately subject to forcible removal as soon as next week. See Pls. Br. at 1. Thousands of

parents like Marlene Doe will be forced to make the unbearable choice between returning their

citizen-children to the life-threatening conditions of their countries of origin or leaving them

behind in the United States, possibly never to see them again. No parent should ever be subjected

to such a cruel and impossible decision. See Leiva–Perez v. Holder, 640 F.3d 962, 969–70 (9th

Cir. 2011) (identifying “separated families” as an irreparable harm); States Amicus Brief at 7

(“approximately 141,000 U.S. citizen children and 196,000 U.S. citizen adults lived with a Haitian

or Venezuelan TPS holder” all of whom would be at risk of family separation). Homes, jobs, and

livelihoods will be lost. See States Amicus Brief at 12-15.




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       Defendants dismiss this harm by highlighting the “temporary nature” of TPS, arguing that

“there is never a guarantee of indefinite TPS.” Defs. Opp. at 27. But this is wrong on several

grounds. First, it ignores the value of time: that every day of TPS protection means safety from

life-threatening conditions in violent and unstable home countries, and the ability to live and work

in the United States. The U.S. Government formally told Venezuelan TPS beneficiaries that they

were protected until October 2, 2026, and told Haitian beneficiaries they were protected until

February 3, 2026; now shortening that time by up to 18 months constitutes a significant harm.

Moreover, many TPS holders are seeking to adjust their immigration status, such as through

asylum proceedings. Cutting short their TPS protection will cut many of those avenues off.

       The devastation caused by the mass deportations of TPS holders would not only disrupt

families but also cripple businesses and communities that depend on TPS holders as employees

and business owners. See Sydney Dec. ¶¶ 10-11; Marlene Dec. ¶ 12; see also Nat’l Ass’n of Mfrs.

v. U.S. Dep’t of Homeland Sec., 491 F. Supp. 3d 549, 571 (N.D. Cal. 2020) (enjoining restrictions

on certain nonimmigrant work visas, recognizing the substantial harm to “hundreds of thousands

of American businesses across various industries and economic sectors”); States Amicus Brief at

13 (“TPS eligible Venezuelans and Haitians contribute $15.9 billion annually to the U.S.

economy”). As 19 States recognized in their amicus brief: “Far from being a burden … Haitian

and Venezuelan TPS holders are a resounding benefit. They are valued employees and residents

of the Amici States …Stripping these individuals of legal status would harm our residents, our

economies, and our public health and safety.” States Amicus Brief at 2, 12-19.

       On the other side of the balance, Defendants present no evidence. They rely only on the

argument that Defendant Noem suffers harm if a policy decision she has made cannot proceed.

Defs. Br. at 28. But “[t]here is generally no public interest in the perpetuation of unlawful agency




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action. To the contrary, there is a substantial public interest in having governmental agencies abide

by the federal laws that govern their existence and operations.” League of Women Voters of United

States v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016).

IV. THE APPROPRIATE RELIEF IS A UNIVERSAL STAY UNDER 5 U.S.C. § 705.
       Finally, Defendants’ arguments against a universal stay ignore both the language of the

APA and decades of precedent interpreting the law. The APA specifically provides that a

reviewing court “shall…hold unlawful and set aside agency action” that it finds to be not in

accordance with the law. 5 U.S.C. §706(1); (2). When those conditions are met, “[t]he ordinary

practice is to vacate unlawful agency action.” United Steel v. Mine Safety & Health Admin., 925

F.3d 1279, 1287 (D.C. Cir. 2019); see also Harmon v. Thornburgh, 878 F.2d 484, 495 n.21 (D.C.

Cir. 1989) (when agency action is found unlawful, “the ordinary result is that the rules are

vacated—not that their application to the individual petitioners is proscribed.”). Such a result is

not only consistent with longstanding APA practice but is of particular importance in immigration

matters, where nationwide consistency is of paramount importance.22

                                             CONCLUSION

       For all of these reasons, the Court should exercise its authority under 5 U.S.C. § 705 to

stay the effective date of the TPS Vacaturs and Venezuela Termination pending conclusion of

this review proceeding.



Dated: March 27, 2025                                 Respectfully submitted,

                                                      /s/ Oren Sellstrom__________
                                                      Oren Sellstrom (BBO #569045)
                                                      Mirian Albert (BBO #710093)

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  See U.S. Const., art. 1, § 8, Clause 4 (granting Congress power “[t]o establish an uniform Rule of
Naturalization”); see also Lawrence Dec. ¶ 2 (noting geographic dispersion of members throughout
the country).


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                                CERTIFICATE OF SERVICE


I hereby certify that on March 27, 2025, the above-captioned document was filed through the
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                                                      /s/Mirian Albert
                                                     Mirian Albert (BBO #710093)




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